                                                       Exhibit 8


Jake Doran

From:                            Jake Doran
Sent:                            Wednesday, November 29, 2023 10:06 AM
To:                              'Justin Winch'
Cc:                              Alexis Chapital
Subject:                         RE: Washington Discovery Responses
Attachments:                     Washington Motion to Dismiss.docx



Justin,

Beyond the actual objections, it appears that the responses are incomplete as no documents were produced with
the responses. As indicated below, I also need the notarized signature page. Additionally, in your previous
emails, you referenced some outstanding discovery from Safepoint. Can you let me know what exactly is
outstanding as I did not receive any formal discovery requests? I am happy to discuss all of these issues anytime
on Friday after 9:30 AM.

Also, I am attaching the proposed Motion to Dismiss for Mr. Washington’s duplicate state court action. Let me
know if you approve of the content, and I will e-sign for you and get filed.

Best,
Jake

From: Justin Winch <justin.winch@winchlawfirm.com>
Sent: Monday, November 20, 2023 9:29 AM
To: Jake Doran <jdoran@bluewilliams.com>
Cc: Alexis Chapital <alexis@winchlawfirm.com>
Subject: Washington Discovery Responses
Importance: High

Jake,
Please see a ached, and thank you very much for the courtesies in allowing me to get these to you. Also, Mr.
Washington reviewed and signed these over the weekend, and there was not a notary immediately available. I will get
you a notarized signature page today. Please accept his esigned veriﬁca on for now, let me know if this is an issue.

In apprecia on of your courtesies, and because there are some ques ons regarding intent and interpreta on of the
Defendant’s interrogatories and other requests (see objec ons) I am making available my me this week, to host a meet
and confer to keep everything moving forward and mely. Please let me know, and we can also go over during the meet
and confer, the Plain ﬀ’s deposi on no ce, if there were objec ons to it, and any other outstanding discovery items,
and take care of all such ma ers at the same me.

Thank you again,
Jus n

Sincerely,



Jus n L. Winch, Esq.

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                                                       Exhibit 8
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jus n.winch@winchlawﬁrm.com Email

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